Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 1 of 35 Page ID #:1



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                          UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
      LESLEY CONTI AND TOM                  Case No.: 2:19-cv-2160
      CONTI on behalf of themselves and
      all others similarly situated,        CLASS ACTION

                  Plaintiffs,               COMPLAINT
            vs.

      AMERICAN HONDA MOTOR
      CO., INC, a California corporation,

                    Defendant.




     COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 2 of 35 Page ID #:2



 1         All allegations made in this Complaint are based upon information and belief
 2
     except those allegations that pertain to Plaintiffs, which are based on personal
 3
 4   knowledge. Each allegation in this Complaint either has evidentiary support or,

 5   alternatively, pursuant to Rule 11(b)(3) of the Federal Rules of Civil Procedure, is
 6
     likely to have evidentiary support after a reasonable opportunity for further
 7
 8   investigation or discovery.
 9                             NATURE OF THIS ACTION
10
           1.     Plaintiffs bring this proposed class action for damages and injunctive
11
12   relief on behalf of themselves and all other persons and entities nationwide who
13   purchased or leased a fifth generation, 2018-2019 Honda Odyssey vehicle or 2019
14
     Honda Pilot (“Vehicles” or “Covered Vehicles”) manufactured by defendant
15
16   American Honda Motor Co., Inc. (“Honda” or “Defendant”).
17         2.     Defendant designed, manufactured, tested, warranted, advertised,
18
     distributed, sold, and leased the Covered Vehicles, which contain a defective
19
20   integrated in-vehicle communication, navigation, and entertainment system –
21   commonly referred to as an “infotainment system” – that causes many of the
22
     Vehicles’ features (e.g., navigation system, rear-entertainment system, audio
23
24   system, backup camera, cabin watch system) to malfunction.
25
           3.     As a result of the defect, the Vehicles’ infotainment systems frequently
26
     freeze or crash (in which case no features connected to system are operational,
27
28   including the navigation technology, the radio, and the rearview camera). These
                                              1
     COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 3 of 35 Page ID #:3



 1   malfunctions pose a safety risk because when the system malfunctions, unexpected
 2
     audio or video – or a blank or blue infotainment screen – can cause the driver to
 3
 4   become distracted. The defect can also render safety-related systems (including

 5   backup camera functions) to fail.
 6
           4.       Honda either knew of the defect before marketing the Vehicles or
 7
 8   failed to conduct adequate testing of the Vehicles system prior to its release.
 9   Regardless, soon after the release of the Vehicles, Honda must have known of the
10
     defect based on the numerous customer complaints it received, and yet Honda
11
12   continued to market the Vehicles.
13         5.       Under the Vehicles’ New Vehicle Limited Warranty, Honda is
14
     required to “repair or replace any part that is defective in material or workmanship
15
16   under normal use.”1
17         6.       But Honda has not found a solution to the infotainment system defect.
18
     Instead, Honda simply replaces defective parts with equally defective parts, thereby
19
20   leaving consumers caught in a cycle of use, malfunction, and replacement.
21         7.       Despite providing the dealership and Honda engineers eight attempts
22
     to repair Plaintiffs’ Vehicle, the Vehicle’s infotainment system continues to
23
24   malfunction.
25
     1
26    A true and correct copy of the New Vehicle Limited Warranty is available at
     https://owners.honda.com/Documentum/Warranty/Handbooks/2018_Honda_Warra
27   nty_Basebook_AWL05251_FINAL.pdf ;
     https://owners.honda.com/Documentum/Warranty/Handbooks/2019_Honda_Warra
28   nty_Basebook_AWL07531_Petrol_Hybrid_PHEV__SIS.pdf
                                               2
     COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 4 of 35 Page ID #:4



 1           8.    Accordingly, Plaintiffs bring this action for breach of express and
 2
     implied warranties on behalf of a nationwide class of Vehicle lessees and owners.
 3
 4   Plaintiffs seek damages and equitable relief on behalf of themselves and all others

 5   similarly situated.
 6
                                JURISDICTION AND VENUE
 7
 8           9.    This Court has subject matter jurisdiction over this action under 28
 9   U.S.C. §1332(d)(2), as amended by the Class Action Fairness Act of 2005, because
10
     the amount in controversy exceeds $5,000,000, exclusive of interests and costs, and
11
12   because this is a class action in which the members of the classes and Defendant are
13   citizens of different states.
14
             10.   Venue is proper in this judicial district under 28 U.S.C. §1391 because
15
16   Defendant is a resident of Torrance, California, which is located in this district.
17                                         PARTIES
18
             11.   Plaintiffs Lesley Conti is an Ohio citizen residing in Munroe Falls,
19
20   Ohio.
21           12.   Plaintiff Tom Conti is an Ohio citizen residing in Munroe Falls, Ohio.
22
             13.   Defendant American Honda Motor Co., Inc. is a California corporation
23
24   with its headquarters in Torrance, Los Angeles County, California.
25
             14.   In this Complaint, when reference is made to any act, deed or conduct
26
     of Defendant, the allegation means that Defendant engaged in the act, deed or
27
28   conduct by or through one or more of its officers, directors, agents, employees, or
                                                3
     COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 5 of 35 Page ID #:5



 1   representatives who was actively engaged in the management, direction, control, or
 2
     transaction of the ordinary business and affairs of Defendant.
 3
 4                              FACTUAL ALLEGATIONS

 5                   Defendant’s Failure to Fix or Disclose The Defect
 6
           15.     Defendant designed, engineered, manufactured, tested, warranted,
 7
 8   advertised, distributed, sold, and leased the 2018-2019 Odyssey and 2019 Pilot
 9   vehicles equipped with defective infotainment systems.
10
           16.     Because the Vehicles’ infotainment systems are responsible for a wide
11
12   variety of vehicle functions (including navigation, audio, video, hands-free phone,
13   back up cameras, etc.), the defect causes a wide range of problems for the Vehicles.
14
     For instance, the defect can cause the entire center console to go black or blue while
15
16   the vehicle is in motion, thereby posing a substantial distraction to the driver.
17         17.     Examples from the many complaints about the defective infotainment
18
     systems in the Covered Vehicles posted on the National Highway Transportation
19
20   Safety Administration include:
21
                  “THE CENTER CONSOLE, WHICH IS THE MONITOR THAT
22                 UTILIZES GPS NAVIGATION, REAR VIEW CAMERA DISPLAY,
                   CONTROLS HEAT/AC, VOLUME CONTROL, ETC. HAS
23
                   CONTINUED TO FAIL SINCE DATE OF PURCHASE (7/15/17).
24                 THE MONITOR SHUTS DOWN AT RANDOM TIMES, FOR
                   UNIDENTIFIED    REASONS,   LEAVING   THE   DRIVER,
25
                   DISTRACTED AND ATTEMPTING TO RESOLVE. THE SHUT
26                 DOWN CAN OCCUR WHILE IN THE VAN IS MOVING OR
                   STATIONARY. NAVIGATION SHUTS DOWN WHILE THE
27
                   DRIVER IS IN ROUTE TO A LOCATION CAUSING
28                 SIGNIFICANT DISTRACTION.… HONDA WAS MADE AWARE
                                                4
     COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 6 of 35 Page ID #:6



 1               OF THIS PROBLEM IN AUGUST 2017. WE BROUGHT OUR VAN
 2               IN TO THE SHOP TWICE AND NO RESOLUTION WAS FOUND.
                 WE FILED A COMPLAINT WITH HONDA AMERICA (VOICE
 3               MAILS ARE RETAINED AS RECORD). AFTER SEVERAL
 4               MONTHS OF NO RESOLUTION, HONDA AMERICAN TOLD US
                 OUR CASE WAS BEING CLOSED BECAUSE THE COMPANY
 5               CONTINUED TO HAVE NO RESOLUTION. 7 MONTHS AFTER
 6               PURCHASE THE CENTER CONSOLE/MONITOR CONTINUES
                 TO RANDOMLY FAIL. SOMETIMES THE MONITOR GOES
 7               BLACK, SOME FEATURES WORK WHILE OTHERS STOP (FOR
 8               EXAMPLE THE RADIO MAY WORK WHILE THE SCREEN IS
                 BLACK). SOMETIMES THE MONITOR GOES BLUE AND
 9               EVERYTHING SHUTS DOWN. PHOTOS AND VIDEOS OF
10               THESE OCCURRENCES WERE SUBMITTED TO HONDA VIA
                 EMAIL. THE PROMOTED FEATURES BY HONDA AMERICA
11               LEAD THE BUYER TO BELIEVE THERE IS ADDED SAFETY IN
12               THIS VAN. THE OPPOSITE HAS TURNED OUT TO BE TRUE.
                 THESE FAILURES CAUSE SERIOUS SAFETY CONCERNS FOR
13               THE DRIVER AND THE YOUNG FAMILIES UTILIZING THE
14               VAN.” (August 23, 2017)
15             “ENTIRE DASH TURNED OFF WHILE DRIVING INCLUDING
16              SPEEDOMETER AND INFORMATION SCREEN-REPLACED
                RADIOHEAD…. IT’S A BAD REAR ENTERTAINMENT
17              SYSTEM. I BOUGHT MY CAR 1 YEAR AGO AND IT’S
18              OBVIOUSLY FLAWED” (October 29, 2018).
19
               “TOURING-REAR ENTERTAINMENT SYSTEM SHUTS OFF TO
20              BLACK SCREEN AND CABIN WATCH LOSES SIGNAL AND
21              GIVES AN ERROR CODE. WHILE DRIVING LONG DISTANCES,
                THE KIDS CAN ONLY WATCH THE FIRST 30 MINUTES OF
22
                THEIR DVD BEFORE THE SYSTEM SEEMS TO OVERHEAT
23              AND COMPLETELY SHUTDOWN. WE HAVE RESORTED TO
                TURNING IT OFF TO LET IT COOL DOWN (DVD THAT IS
24
                REMOVED FROM THE PLAYER COMES OUT SCALDING HOT)
25              BEFORE RETRYING TO LET THEM WATCH AND HAVE IT
                FAIL A FEW MINUTES LATER. CABINWATCH SEEMS TO ACT
26
                UP AT THE SAME TIME THE REAR ENTERTAINMENT
27              SYSTEM FAILS.” (September 5, 2018).
28
                                           5
     COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 7 of 35 Page ID #:7



 1             “AS SOON AS I DROVE OFF THE LOT. THE CAR GAVE ME AN
 2              ERROR… THE PROBLEM WITH THE REAR ENTERTAINMENT
                SYSTEM KEEPS IN DEFAULT. I TOOK IT IN 6 TIMES
 3              ALREADY NO SOLUTION JUST RUN AROUND. WHEN YOU
 4              START EVERYTHING IS FINE AFTER 10 MINUTES OF
                PLAYING ANYTHING THE SCREEN GOES CRAZY. I
 5              ATTACHED PICTURES. NOTHING WORKS. SOME TIMES IF
 6              YOU RESTART THE CAR YOU ARE LUCKY AND YOU GET
                PICTURE. BUT MUST OF THE TIME YOU HAVE TO WAIT FOR
 7              A FEW HOURS.!” (May 28, 2018).
 8
 9             FAILURE OF THE REAR ENTERTAINMENT SYSTEM: THE
                REAR CAMERA AND ENTERTAINMENT SYSTEM WILL LOST
10              "NETWORK CONNECTIVITY" AND STOP FUNCTIONING….
11              FAILURE OF THE INFOTAINMENT SYSTEM: THE
                INFOTAINMENT SYSTEM WILL TURN OFF AND GO INTO A
12              SERIES OF FAILURES, ULTIMATELY TURNING OFF
13              COMPLETELY     AND     NOT     FUNCTIONING.     THE
                INFOTAINMENT SYSTEM WILL ALSO EXPERIENCE POWER
14              ERRORS RESULTING IN ERRORS WITH THE ANTI THEFT
15              SYSTEM.   IN    ADDITION,   THE      RADIO/SPEAKERS
                PERIODICALLY STOP WORKING. (October 14, 2017)
16
17             RECURRENT PROBLEM. STARTED WHEN VEHICLE WAS 2
                MONTHS OLD. TAKEN CAR TO DEALER SERVICE
18              DEPARTMENT. NO SOLUTION.
19
               WHEN IN MOTION (HIGHWAYS, CITY ROADS) SPEAKERS
20              MAKE A SPARKLING SOUND FOLLOWED BY THE
21              ENTERTAINMENT SCREEN ( NAVIGATION, HANDHELD
                PHONE, REAR VISION...) AND THE ODOMETER SCREEN
22              (SPEED DISPLAY, ALL THE SIGNALS) BECAME DEAD. IT
23              COULD LAST FEW SECONDS AND REBOOT BACK OR UP TO
                30 MINUTES. IN A 15 MILE JOURNEY , COULD HAPPEN
24              AROUND 15 TIMES. SO THE DANGEROUS SITUATION IS
25              THAT I AM DRIVING WITH NO IDEA HOW MUCH SPEED I AM
                GOING, I AM NOT ABLE TO USE MY HANDHELD PHONE
26              (ALSO VERY IMPORTANT TO ME AS A BUSY DOCTOR
27              TRYING    TO   ANSWER    EMERGENCY    CALLS),   NO
28
                                           6
     COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 8 of 35 Page ID #:8



 1                  NAVIGATION SYSTEM AVAILABLE, THE REAR VISION
 2                  CAMERA BECOMES USELESS WITH A BLANK SCREEN...

 3                  I LEARNT FROM THE INTERNET THAT THIS IS AN ONGOING
 4                  PROBLEM AND NO SOLUTION HAVE BEEN FOUND.

 5                  PROBLEM HAPPENS IN MOTION AND ALSO OR WHEN CAR
 6                  IS PARKED.
 7         18.      Complaints posted on Carcomplaints.com and Edmunds.com paint a
 8
     strikingly similar picture:
 9
10                “The infotainment on this car really sucks. It has a mind of its own.
                   And, to add insult to injury the whole thing froze rendering the
11                 infotainment useless. Went to the dealer to do a hard reset since there
12                 was no way in the world that everything else I could have tried
                   worked. The Dealer informed that the infotainment is a known issue
13                 yet nothing has been done to fix it. Recently, it simply refused to shut
14                 off. This is a brand new car and having problems like these says a lot
                   about the quality of the accessories.” (complaint posted on
15                 carcomplaints.com dated December 20, 2017).
16
                  I bought 2018 elite model in August 2018. Within two month all
17
                   entertainment system stopped working. I bought this car because I
18                 have kids and I want them to have something like rear entertainment
                   for long trip. But, no luck. Took car to dealer they install some part.
19
                   Got car back. Use car only on weekend. Now display screen not
20                 turning all at all and staying blank. Took car again to dealer they
                   install part.(had to leave with them for week because part is not in
21
                   stock). Got car back again and now back to entertainment problem.
22                 Music stop playing automatically in between FM, USB,etc. Even on
                   corner it shows phone is connected through Bluetooth. But when try to
23
                   play music through phone message keep coming saying no phone
24                 connected. Had to send car again to dealer. (complaint posted on
25                 Edmunds.com dated January 3, 2019).

26
                  “Biggest regret of our lifetime of new vehicle buying. There are so
27                 many bugs and issues, I can't even begin to list them all. Cabin Watch
28                 was the main feature for choosing Odyssey over Toyota or Chrysler. It
                                                7
     COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 9 of 35 Page ID #:9



 1               continues to glitch and stop working. It affects the DVD entertainment
 2               system which makes it hell with children. Honda say they are aware
                 but not concerned about fixing these issues since the vehicle still
 3               drives. I can find alot of vehicles that just drive from point A to B, I
 4               paid THOUSANDS more to have extra luxury features!!” (complaint
                 posted on Edmunds.com dated December 4, 2018).
 5
 6             Got the car in November and problem started about 3 weeks after I got
                it. The screen does not load properly, it crashes, reboots, freezes, has
 7              error messages, sometimes the radio stays dead, sometimes its on. No
 8              hands free operation, no GPS. Honda Replaced the unit 1st week of
                Jan 2019 and 1st of Feb, the problem reappeared. First they thought it
 9              was caused by Car play - with the cable being faulty. The new unit - I
10              have not connected carplay and it still occurred. To get it working - i
                have to exit the car lock and unlock and hopefully the start sequence
11              will work. I think this makes the car unusable, (complaint posted on
12              carcomplaints.com on February 1, 2019).

13             “13 months with the same problem. We have taken it to several
                dealerships and no one can fix it. Honda is "aware" of the problem and
14
                says for us to keep waiting until they resolve the issue. We are paying
15              extra money to have features that don't work. We didn't get a rebate
                since they are high demand, if people only knew...Please make sure
16
                you test the entertainment system thoroughly before you leave the
17              dealership. Take the headphones out of the bubble wrap and the take a
                DVD with you.” (complaint posted on Edmunds.com dated December
18
                4, 2018).
19
20             “We acquired the 2018 Odyssey Elite with all the options. We're very
                unhappy with the upgrade because the entertainment system
21
                occasionally stops working. That means the Blue Ray, Cabin Watch,
22              everything all of the sudden shuts off. We need to stop the car, turn it
                off, turn it back on, and hope the system comes back to life. We
23
                brought it to the dealership immediately, and we were told this is a
24              known problem, Honda knows about it, and there's no solution.
                "Check back in 90 days" is the answer we got in writing! Can you
25
                believe this?! Please save yourself headaches and buy something else.
26              Of course the sales people at the Honda dealerships will never tell you
                that. This model is full of other smaller bugs, too many to list here.
27
                Looks like a car that was not fully tested before getting to market.
28              (complaint posted on Edmunds.com dated June 4, 2018).
                                             8
     COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 10 of 35 Page ID #:10



  1
  2             This car has numerous electronic and software issues that Honda
                 America is unable to fix. Dealers continue to sell these vehicles
  3              without disclosing the problems.… If you buy the Elite, plan on the
  4              following; Sirius XM Radio will work occasionally, Cabin Watch and
                 park sense cameras will lock up and won't work until the car goes
  5              through a hard reset, the cabin doors will not respond to the auto open
  6              and close until a hard reset is performed, the DVD system will lock up
                 and won't play until a hard reset is performed, the infotainment system
  7              is immature and is still being debugged by Honda Engineers, the voice
  8              command system seldom works or responds. The dealer service
                 department will acknowledge that they can't fix the problems. We
  9              brought it back 9 times since Jan 2018-April 18 without any fixes
 10              made other than reseting which involves disconnecting the battery and
                 waiting 15 minutes for the system to reset.… It is a Lemon Law
 11              candidate as well as a class action law suit for fraud.” (complaint
 12              posted on Edmunds.com dated April 10, 2018).
 13
                “I just bought 2018 odyssey less then 1000miles and my rear
 14              entertainment system stop working and went to dealer and find out
 15              software problem and honda cannot fix it until they have new update
                 software so I was upset because it's not my fault honda has to replace
 16              with new RES but they are not so please before you buy make sure it
 17              works and it's not only mine there so many people having same
                 issues....Go to Odyssey forum and you will find details.” (complaint
 18              posted on Edmunds.com dated September 16, 2017).
 19
 20             2018 is redesigned model and maybe it explains why it has so many
                 bugs… A few more issues also happen randomly while driving are:
 21              screen goes completely blank or frozen, GPS stops giving a guidance,
 22              music doesn't play from USB or creating a horrible noise, Bluetooth
                 connection goes off (consequently phone cannot connect), anti theft
 23              system losing a power, speakers producing distorted sound.”
 24              (complaint posted on Edmunds.com dated August 13, 2018).
 25
                “We purchased the 2018 Honda Odyssey with DVD. The first time we
 26              tried it out, the DVD shut off after 10 minutes saying ‘network
 27              connection lost’ and wouldn't turn back on. The sound still worked, the
                 drop-down TV just turned black. After the car had been off for a while,
 28
                                              9
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 11 of 35 Page ID #:11



  1               it worked again, for about 10 minutes and then again said, ‘network
  2               connection lost.’ Every single time it overheats after 10 to 30 minutes
                  of play and says "network connection lost." Finally, I brought it to the
  3               dealership. After keeping my car almost all day, they informed me that
  4               this was a KNOWN ISSUE that they don't have a fix for. They told me
                  that even when they replace the DVD system it still overheats and does
  5               the same thing. They told me they would call me ‘whenever they come
  6               up with a solution.’ Totally unacceptable to keep selling these cars
                  with DVD systems that don't work and no known repair.
  7               DEFECTIVE!!” (complaint posted on Edmunds.com dated April 18,
  8               2018).
  9
                “We purchased our 2018 Honda Odyssey Elite in July of 2017 and
 10              many of the key features still do not work. Almost every time we are
 11              on a road trip and use the Rear Entertainment System, the screen turns
                 black and there is weeping and gnashing of teeth in the back. The
 12              CabinWatch camera often freezes or is unable to connect altogether.
 13              The hands-free voice commands/calling while connected to ApplyPlay
                 stops working often. I have spent HOURS documenting the errors and
 14              trying to speak with HondaCare, but they closed my case until an
 15              update was available. There was an update on Wednesday and I have
                 had issues with all three of the aforementioned problems in the past 16
 16              hours. Keeping notes, pictures and videos of all the things wrong with
 17              my nice, EXPENSIVE, new van has been a part-time job since I
                 purchased this vehicle. ” (complaint posted on Edmunds.com dated
 18              March 23, 2018).
 19
 20             “Buy at your own risk, Honda blames everything on Apple, Bluetooth
                 skips, siri does not connect, messages I haven’t seen or sent one,
 21              screen goes black and does not respond or goes blue with a loud beep
 22              while you are driving.” (complaint posted on Edmunds.com dated
                 November 29, 2017).
 23
 24             “This car touts the software and technology but it is a complete rip off
 25              for the price. 5k miles in and It hardly ever works and the dealer just
                 sends it back saying non-reproducable. I finally recorded a video to
 26              show them the problem and now they blame my Disney original DVD.
 27              Are all of my brand new DVDs bad?? Absolute nonsense!” (complaint
                 posted on Edmunds.com dated February 25, 2018).
 28
                                              10
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 12 of 35 Page ID #:12



  1
  2                “I am normally impressed with Honda's quality. However, I would not
                    recommend buying this car if you have a family. We bought it
  3                 specifically for family road trips. The Rear Entertainment System
  4                 failed within a month. This made the 4 hour road trip for the solar
                    eclipse painful!! Took it back to the dealer, they said Honda knows
  5                 about the problem, but there is no fix right now. Until this is fixed, do
  6                 not buy this vehicle if you have young kids.” (complaint posted on
                    Edmunds.com dated November 3, 2017).
  7
  8         19.      In fact, Consumer Reports has downgraded its rating on the 2018
  9
      Honda Odyssey as “No Longer Recommended” due to “much-worse-than-average
 10
 11   reliability, with problems including the infotainment display freezing and losing all

 12   functionality.”
 13
            20.      A Car and Driver review of the 2018 Honda Odyssey observed, “Our
 14
 15   Odyssey continues to be plagued by infotainment glitches, freezes, and outright

 16   refusals to turn on (the last most often after using the standard factory remote-start
 17
      feature), even after a field technician visited the van at our office and replaced the
 18
 19   infotainment head unit under warranty at 12,800 miles.”

 20         21.      Honda’s New Vehicle Limited Warranty requires it to “repair or
 21
      replace any part that is defective in material or workmanship under normal use.”
 22
 23   But as countless consumers have reported, Honda has been unable to repair these
 24   defects despite being given as numerous opportunities. In violation of this express
 25
      warranty, and as evidenced by the many complaints or repeat infotainment system
 26
 27   failures, Defendant merely replaces a defective part with another defective part.
 28
                                                 11
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 13 of 35 Page ID #:13



  1         22.    Due to the inherent and permanent nature of the common defect in the
  2
      Covered Vehicles which cause them to fail, even after repeated replacements,
  3
  4   Plaintiffs and the members of the Class have incurred and will continue to incur

  5   significant expenses.
  6
            23.    Additionally, because the infotainment system may fail at any time,
  7
  8   thereby startling the driver and putting the passengers’ safety at risk, the defect
  9   makes these Covered Vehicles unfit for the use for which they were intended in that
 10
      they cannot be relied upon as a safe and reliable means of transport.
 11
 12                           Plaintiffs’ Experiences with the Defect
 13         24.    Lesley and Tom Conti purchased a new 2018 Honda Odyssey EX-L
 14
      from Great Lakes Honda in Akron, Ohio on or around June 12, 2017.
 15
 16         25.    The Contis experienced continuing and repeated problems with the
 17   vehicle’s infotainment system from within two months of purchase.
 18
            26.    The Contis first noticed problems with the audio system in
 19
 20   approximately August 2017.        The infotainment system displayed the message
 21   “Radio unavailable," and there was no sound from the radio, satellite radio, CD
 22
      player, hands free calling, and navigation system.
 23
 24         27.    When Plaintiffs took the Vehicle to their dealership for an oil change
 25
      on January 11, 2018, they notified the technician of the problems they had been
 26
      experiencing with the infotainment system. The service invoice states: “Cust states
 27
 28   is still[] having issues with Audio Unit. States is seeing radio unavailable when
                                                12
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 14 of 35 Page ID #:14



  1   using AM/FM. Please advise remarks found bulletin for audio unit replacement.
  2
      Ordered audio tuner per bulletin.”
  3
  4         28.    Less than a month later, on February 1, 2018, Plaintiffs returned to the

  5   dealership to have the audio tuner replaced per the Honda service bulletin (Service
  6
      Bulletin 17-088).
  7
  8         29.    Two days after the replacement, the infotainment system failed again.
  9   Later, on February 3, 2018, Lesley’s February 3, 2018 text message to a technician
 10
      at the dealership states that “the radio just went out completely, nothing is
 11
 12   working.” Shortly thereafter, Plaintiffs returned the Vehicle to the dealer to have
 13   the dealer again attempt to fix the infotainment system.
 14
            30.    On February 8, 2018, the dealership notified Plaintiffs as follows:
 15
 16   “[W]e are currently waiting on a call back from Honda Tech line. We have
 17   followed all diagnosis charts so leaning towards audio unit or even an issue with the
 18
      tuner. Just waiting for there (sic) techs to advise next steps.”
 19
 20         31.    The next day, Plaintiffs received a text message from the technician
 21   stating: “Honda contacted us last night and requested a snap shot of the audio unit
 22
      software which means they wanna see what we see in the programming. They
 23
 24   should contact us today but they are based on the west coast so won’t be till later.”
 25
      When Plaintiffs picked up the Vehicle from the dealership, they were told that the
 26
      whole dashboard had been removed in an effort to repair the unit.
 27
 28
                                                13
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 15 of 35 Page ID #:15



  1           32.   Despite these repair efforts, the infotainment system problems
  2
      persisted.
  3
  4           33.   Plaintiffs took the van back in to the dealership on approximately

  5   February 12, 2018, and then again on February 22, 2018. The dealership’s service
  6
      invoice states: “Cust states is still having issues with the audio unit. States still
  7
  8   getting message radio unavailable, states are fading in and out very quickly and
  9   then just shuts off. States has not worked for a full day since install.” The invoice
 10
      further states: “Vehicle has a new tuner, new audio unit from brand new donor and
 11
 12   OTA software update. According to customer, vehicle is still malfunctioning. Per
 13   DPMS and field service engineer, customer needs to keep for a few weeks and log
 14
      malfunctions and report back to us to further diagnose. Closing paperwork for
 15
 16   now.”
 17           34.   Plaintiffs asked to speak with the dealership’s service manager, who
 18
      instructed Plaintiffs to start keeping a journal of the problems with the vehicle.
 19
 20   According to Plaintiffs’ journal, the vehicle experienced infotainment system
 21   problems (usually related to audio) every single day between February 28, 2018 and
 22
      March 12, 2018.
 23
 24           35.   On March 12, 2018, Plaintiffs received a text message from the
 25
      technician stating: “We have spoken to Honda on the situation not just with your
 26
      vehicle but with others as well and are getting the same response which is don’t
 27
 28   replace any more parts and wait for an update. Very frustrating I understand.”
                                               14
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 16 of 35 Page ID #:16



  1          36.    The next day, Plaintiffs received a follow up text message asking them
  2
      to bring the Vehicle into the dealership, which they did. The dealer kept the
  3
  4   Vehicle for 10 days. The service invoice states, “Per Service Manager and DPSM

  5   Veh to be dropped off for further diag.” It further states: “Replaced instrument
  6
      panel wire harness, floor wire harness, and rear entertainment system control unit
  7
  8   per previous diagnosis performed by Honda field engineer. Radio is working
  9   consistently after testing multiple times over the court of two day[s]. No other
 10
      problems found at this time.” Plaintiffs were told that an engineer from Honda flew
 11
 12   in specifically to observe the Vehicle and personally drove the Vehicle back and
 13   forth to his hotel.
 14
             37.    Plaintiffs picked up the van on March 22, 2018. But the infotainment
 15
 16   system problems continued.
 17          38.    On May 1, 2018, Plaintiffs contacted dealership about problems
 18
      experienced with the infotainment system, which included crackling sounds and a
 19
 20   non-functioning backup camera.
 21          39.    On May 18, 2018, the Vehicle’s audio functions failed and the
 22
      infotainment system would not produce any sound.
 23
 24          40.    Around this time, Plaintiffs were informed by the dealership’s service
 25
      manager that these issues are happening to a lot of people.
 26
             41.    On at least two occasions since the dealership attempted to repair the
 27
 28   defect, Lesley has been driving when the entire “infotainment” console display
                                               15
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 17 of 35 Page ID #:17



  1   turned black and became wholly inoperable. Plaintiffs have recorded video of these
  2
      failures to document them.
  3
  4         42.      On December 18, 2018 Plaintiffs returned the Vehicle back to the

  5   dealership and showed them the videos of the infotainment system failures. Later
  6
      that day, Plaintiffs were told that the Honda engineer had looked at the videos and
  7
  8   determined that the blu ray player and the speedometer needed to be replaced.
  9         43.      However, the infotainment problems continue to plague the Vehicle
 10
      after the dealership many repair attempts. As recently as March 1. 2019, the
 11
 12   Vehicle’s audio cut out and the infotainment system showed the following
 13   message: “Audio cannot be used right now.”
 14
            44.      Despite providing the dealership and Honda engineers eight attempts
 15
 16   to repair the infotainment system, the Vehicle’s infotainment system continues to
 17   malfunction.
 18
                      Defendant’s Warranties and Response to the Defect
 19
 20         45.      Defendant issued to all original purchasers and lessees, including
 21   Plaintiffs and the other Class members, a written manufacturer’s warranty. This
 22
      New Vehicle Limited Warranty states that “Honda will repair or replace any part
 23
 24   that is defective in material or workmanship under normal use” and that “All
 25
      repairs/replacements made under this warranty are free of charge.”
 26
            46.      However, Defendant knew, or at least should have known, of the
 27
 28   defects at the time of sale or lease of the Covered Vehicles. Plaintiffs and Class
                                               16
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 18 of 35 Page ID #:18



  1   members, however, had no such knowledge. The defects were and are latent in
  2
      nature because they are not obvious or ascertainable upon reasonable examination.
  3
  4          47.    Despite having more than adequate opportunity to successfully remedy

  5   the defect(s) in the Vehicles, Defendant has failed to do so, and has instead merely
  6
      replaced defective components with defective components.
  7
  8          48.    Defendant concealed, and continues to conceal, the fact that the
  9   Covered Vehicles contain the defective infotainment systems. Defendant also
 10
      continues to conceal the fact that the replacement components it provides in an
 11
 12   attempt to repair the defect are equally defective. Therefore, Plaintiffs did not
 13   discover and could not have discovered this defect through reasonable diligence.
 14
             49.    Plaintiffs and the other class members reasonably relied on
 15
 16   Defendant’s warranties regarding the quality, durability and other material
 17   characteristics of their Vehicles, including but not limited to the representation that
 18
      the Vehicles contained no known defects (defects known to Defendant) at the time
 19
 20   of sale or lease.
 21                             CLASS ACTION ALLEGATIONS
 22
             50.    Plaintiffs bring this action on behalf of themselves and all others
 23
 24   similarly situated under Fed. R. Civ. P. 23.
 25
             51.    Subject to confirmation, clarification and/or modification based on
 26
      discovery to be conducted in this action, the Class that Plaintiffs seek to represent
 27
 28   shall be defined as follows:
                                                 17
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 19 of 35 Page ID #:19



  1         During the fullest period allowed by law, all persons and entities
  2         nationwide that purchased or leased a Covered Vehicle
            manufactured by Honda. Covered Vehicle is defined to include
  3         model years 2018 through 2019 Honda Odyssey and 2019
  4         Honda Pilot vehicles.

  5         Excluded from the Nationwide Class are: (1) Defendant, any
            entity in which Defendant has a controlling interest, and its legal
  6
            representatives, officers, directors, employees, assigns and
  7         successors; (2) the Judge to whom this case is assigned and any
            member of the Judge’s staff or immediate family; (3) Class
  8
            Counsel.
  9
 10         52.   Plaintiffs seek only damages and injunctive relief on behalf of
 11
      themselves and the Class Members. Plaintiffs disclaim any intent or right to seek
 12
      any recovery in this action for personal injuries, wrongful death, or emotional
 13
 14   distress suffered by Plaintiffs and/or the Class Members.
 15
            53.   While the exact number of Class Members is unknown to Plaintiffs at
 16
      this time and can only be determined by appropriate discovery, membership in the
 17
 18   Nationwide Class is ascertainable based upon the records maintained by Defendant
 19
      and governmental officials.    Upon information and belief, Defendant sold and
 20
 21   leased over one hundred thousand Covered Vehicles nationwide during the relevant

 22   time period, all of which have the defective infotainment systems at issue.
 23
      Therefore, the Class Members are so numerous that individual joinder of all Class
 24
 25   Members is impracticable under Fed. R. Civ. P. 23(a)(1).

 26         54.   Common questions of law and fact exist as to all Class Members, as
 27
      required by Fed. R. Civ. P. 23(a)(2), and final injunctive relief is appropriate
 28
                                               18
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 20 of 35 Page ID #:20



  1   respecting the Class as a whole because Defendant has acted or refused to act on
  2
      grounds that generally apply to the Class, within the meaning of Fed. R. Civ. P.
  3
  4   23(b)(2). These common legal and factual questions include:

  5               a) whether each Covered Vehicle was sold or leased with defective
  6
                     infotainment systems;
  7
  8               b) whether Defendant’s express warranty covers the defect;
  9               c) whether Defendant breached express warranties made to the Class
 10
                     Members;
 11
 12               d) whether Defendant breached implied warranties made to the Class
 13                  Members;
 14
                  e) whether Defendant replaced defective parts with defective parts;
 15
 16               f) whether Defendant concealed the defect; and
 17               g) whether the Class Members have suffered damages as a result of the
 18
                     conduct alleged herein, and if so, the measure of such damages,
 19
 20                  including diminution of value; and
 21               h) whether the Class Members are entitled to injunctive relief.
 22
            55.      Plaintiffs’ claims are typical of the claims of the Class Members whom
 23
 24   they seek to represent under Fed. R. Civ. P. 23(a)(3) because Plaintiffs and each
 25
      Class Member have a Covered Vehicle with the same defective infotainments
 26
      system.
 27
 28
                                                 19
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 21 of 35 Page ID #:21



  1         56.    Plaintiffs will fairly and adequately represent and protect the interests
  2
      of the Class Members as required by Fed. R. Civ. P. 23(a)(4). Plaintiffs are
  3
  4   adequate representatives because their interests do not conflict with the interests of

  5   the Class Members.      Further, Plaintiffs have retained counsel competent and
  6
      experienced in complex class action litigation, including automotive defect class
  7
  8   action litigation, and Plaintiffs intend to prosecute this action vigorously.
  9   Therefore, the interests of the Class Members will be fairly and adequately
 10
      protected.
 11
 12         57.    A class action is appropriate under Fed. R. Civ. P. 23(b)(3) because
 13   questions of law or fact common to class members predominate over any questions
 14
      affecting only individual members, and a class action is superior to any other
 15
 16   available means for fairly and efficiently adjudicating the controversy. In this
 17   regard, the Class Members’ interests in individually controlling the prosecution of
 18
      separate actions is low given the magnitude, burden, and expense of individual
 19
 20   prosecutions against large corporations such as Defendant.           Further, neither
 21   Plaintiffs nor their counsel is aware of any on-going litigation concerning this
 22
      controversy already begun by any of the Class Members.              It is desirable to
 23
 24   concentrate this litigation in this forum to avoid burdening the courts with
 25
      individual lawsuits. Individualized litigation presents a potential for inconsistent or
 26
      contradictory judgments and also increases the delay and expense to all parties and
 27
 28   the court system presented by the legal and factual issues of this case. By contrast,
                                                20
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 22 of 35 Page ID #:22



  1   the class action procedure here will have no management difficulties. Defendant’s
  2
      records and the records available publicly will easily identify the Class Members.
  3
  4   This defect is common to all Covered Vehicles; therefore, the same common

  5   documents and testimony will be used to prove Plaintiffs’ claims as well as the
  6
      claims of the Class Members. Finally, proceeding as a class action provides the
  7
  8   benefits of single adjudication, economies of scale, and comprehensive supervision
  9   by a single court
 10
            58.     A class action is appropriate under Fed. R. Civ. P. 23(b)(2) because, as
 11
 12   stated above, Defendant has acted or refused to act on grounds that apply generally
 13   to the Class Members, so that final injunctive relief or corresponding declaratory
 14
      relief is appropriate as to all Class Members.
 15
 16                              FIRST CLAIM FOR RELIEF
 17              Breach of Express Warranty – Magnuson Moss Warranty Act
 18
                          (Asserted on behalf of the Nationwide Class)
 19
 20         59.     Plaintiffs repeat and incorporate the allegations set forth above as if
 21   fully alleged herein.
 22
            60.     The Covered Vehicles are consumer products as defined in 15 U.S.C.
 23
 24   § 2301(1)
 25
            61.     Plaintiffs and Class Members are consumers as defined in 15 U.S.C. §
 26
      2301(3).
 27
 28
                                                21
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 23 of 35 Page ID #:23



  1         62.    Honda is a supplier and warrantor as defined in 15 U.S.C. §§ 2301(4)
  2
      and (5).
  3
  4         63.    Honda provided Plaintiffs and Class Members “written warranties”

  5   within the meaning of 15 U.S.C. § 2301(6).
  6
            64.    15 U.S.C. § 2310(d)(1)(A) and/or § 2310(d)(3)(C) is satisfied because
  7
  8   Plaintiffs properly invoke jurisdiction under the Class Action Fairness Act
  9   (“CAFA”).
 10
            65.    In the course of selling their Covered Vehicles, Defendant expressly
 11
 12   warranted in its New Vehicle Limited Warranty that “Honda will repair or replace
 13   any part that is defective in material or workmanship under normal use” and that
 14
      “All repairs/replacements made under this warranty are free of charge.”
 15
 16         66.    Upon information and belief, Defendant’s standard warranty language
 17   is identical for all Covered Vehicles sold nationwide.
 18
            67.    Defendant did not provide at the time of sale, and has not provided
 19
 20   since then, vehicles conforming to the express warranties.
 21         68.    Defendant breached and continues to breach express warranties
 22
      because the defective infotainment systems were present in the Covered Vehicles at
 23
 24   the time of sale.
 25
            69.    Defendant breached and continues to breach express warranties
 26
      because Defendant did not (and does not) cover the full expenses associated with
 27
 28
                                               22
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 24 of 35 Page ID #:24



  1   repairing and/or replacing the defective infotainment systems in Plaintiffs’ and the
  2
      Class Members’ Covered Vehicles.
  3
  4         70.    Defendant breached and continues to breach express warranties

  5   because it merely replaces the defective components with additional defective
  6
      components and is unable to successfully repair the defects in Plaintiffs’ and the
  7
  8   Class Members’ Covered Vehicles, despite having had reasonable opportunities to
  9   do so. As such, the express warranties fail their essential purpose.
 10
            71.    Defendant’s refusal to provide an adequate repair or replacement
 11
 12   violates 15 U.S.C. § 2304.
 13         72.    Despite the fact that the Vehicles’ infotainment systems continue to
 14
      fail despite being “repaired,” Defendant continues to replace the defective parts
 15
 16   with identical or substantially similar defective parts. Thus, the defect is inherent
 17   and permanent in nature.
 18
            73.    Defendant fraudulently concealed material information from Plaintiffs
 19
 20   and the Class regarding the existence and extent of the defects. Defendant also
 21   fraudulently concealed the material fact that the replacement components were
 22
      defective. Therefore, any limitations imposed by Defendant as to the scope of its
 23
 24   obligations under the express warranties to repair and adjust defective parts and/or
 25
      any disclaimers in the written warranties prepared by Defendant that purport to
 26
      preclude recovery by Plaintiffs or the Class Members are unconscionable, both
 27
 28   substantively and procedurally, and are unenforceable as a matter of law.
                                                23
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 25 of 35 Page ID #:25



  1         74.    Any such limitations or exclusions have been imposed unilaterally by
  2
      Defendant via adhesive, “take it or leave it” contracts with no ability by Plaintiffs or
  3
  4   the Class Members to negotiate the substance or coverage of the warranties, and

  5   Plaintiffs and the Class Members did not have any meaningful choices of
  6
      reasonably available alternative sources of supply of suitable Vehicles free of the
  7
  8   above unconscionable conditions.
  9         75.    Furthermore, Defendant’s express warranty fails in its essential
 10
      purpose because the contractual remedy is insufficient to make Plaintiffs and the
 11
 12   Class Members whole and because Defendant has failed and/or refused to
 13   adequately provide the promised remedies within a reasonable time.
 14
            76.    Also, as alleged herein, at the time that Defendant warranted and sold
 15
 16   the Vehicles, it knew that the Vehicles were inherently defective, and Defendant
 17   wrongfully and fraudulently misrepresented and/or concealed material facts
 18
      regarding the Vehicles. Plaintiffs and the Class Members were therefore induced to
 19
 20   purchase the Vehicles under false and/or fraudulent pretenses.
 21         77.    Further, the enforcement under these circumstances of any limitations
 22
      whatsoever on the recovery of incidental and/or consequential damages is barred
 23
 24   because any such limitations work to reallocate the risks between the parties in an
 25
      unconscionable and objectively unreasonable manner, and result in overly harsh or
 26
      one-sided results that shock the conscience, especially in light of the fact that
 27
 28
                                                24
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 26 of 35 Page ID #:26



  1   Defendant simply placed defective components in the Vehicles when those
  2
      Vehicles are brought in for repairs.
  3
  4         78.     Moreover, many of the damages flowing from the Vehicles cannot be

  5   resolved by the limited remedies contained in the express warranty as those
  6
      incidental and consequential damages have already been suffered due to
  7
  8   Defendant’s fraudulent conduct as alleged herein and due to their failure to provide
  9   such limited remedy within a reasonable time.          Therefore, any limitation on
 10
      Plaintiffs’ and the Class Members’ remedies would cause the available remedy to
 11
 12   be insufficient to make them whole.
 13         79.     Defendant was previously provided notice of the defects in the
 14
      Vehicles    by   numerous     customer   complaints,    letters,   emails   and   other
 15
 16   communications from Class Members and from dealers and other repair facilities.
 17         80.     Plaintiffs and the Class Members have suffered damages directly and
 18
      proximately caused by Defendant’s breach of the express warranty and are entitled
 19
 20   to recover damages including, but not limited to, out of pocket expenses and
 21   diminution of value.
 22
                                SECOND CLAIM FOR RELIEF
 23
 24              Breach of Implied Warranty – Magnuson-Moss Warranty Act
 25
                             (Asserted on behalf of Nationwide Class)
 26
            81.     Plaintiffs re-allege and incorporate each and every allegation set forth
 27
 28   above as if fully written herein
                                                25
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 27 of 35 Page ID #:27



  1         82.     Plaintiffs bring this claim on behalf of the Nationwide Class.
  2
            83.     The Vehicles are “consumer products” within the meaning of 15
  3
  4   U.S.C. § 2301.

  5         84.     Plaintiffs and members of the Class are “consumers” within the
  6
      meaning of 15 U.S.C. § 2301 because they are persons entitled under applicable
  7
  8   state law to enforce against the warrantor the obligations of its express and implied
  9   warranties.
 10
            85.     Defendant is a “supplier” of consumer products to consumers and a
 11
 12   “warrantor” within the meaning of 15 U.S.C. § 2301.
 13         86.     15 U.S.C. § 2310(d)(1)(A) and/or § 2310(d)(3)(C) is satisfied because
 14
      Plaintiffs properly invoke jurisdiction under the Class Action Fairness Act
 15
 16   (“CAFA”).
 17         87.     Section 2310(d)(1) of Chapter 15 of the United States Code provides a
 18
      cause of action for any consumer who is damaged by the failure of a warrantor to
 19
 20   comply with a written or implied warranty.
 21         88.     Defendant made written and implied warranties regarding the Vehicles
 22
      to Plaintiffs and Class Members within the meaning of 15 U.S.C. § 2301.
 23
 24   Defendant provided Plaintiffs and other Class Members an implied warranty of
 25
      merchantability within the meaning of the Magnuson-Moss Warranty Act, 15
 26
      U.S.C. § 2301(7).
 27
 28
                                                26
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 28 of 35 Page ID #:28



  1         89.    Defendant breached the implied warranty of merchantability because
  2
      the Vehicles were not fit for the ordinary purpose for which such goods are used.
  3
  4   As described throughout the Complaint, the Vehicles contain defects which render

  5   them unsafe, inconvenient, and imperfect such that Plaintiffs and Class Members
  6
      would not have purchased the Vehicles had they known of the defects.
  7
  8         90.    Pursuant to 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this
  9   class action and are not required to give Defendant notice and an opportunity to
 10
      cure until such time as the Court determines the representative capacity of Plaintiffs
 11
 12   pursuant to Rule 23 of the Federal Rules of Civil Procedure.
 13         91.    Plaintiffs, individually and on behalf of the other Class Members, seek
 14
      all damages permitted by law, including diminution in value of their Vehicles, in an
 15
 16   amount to be proven at trial.
 17         92.    In addition, pursuant to 15 U.S.C. § 2310(d)(2), Plaintiffs and the other
 18
      Class Members are entitled to recover a sum equal to the aggregate amount of costs
 19
 20   and expenses (including attorneys’ fees based on actual time expended) determined
 21   by the Court to have reasonably been incurred by Plaintiffs and the other Class
 22
      Members in connection with the commencement and prosecution of this action.
 23
 24         93.    Further, Plaintiffs and the Class are also entitled to equitable relief
 25
      under 15 U.S.C. § 2310(d)(1) and damages as a result of Defendant’s violation of
 26
      its written and/or implied warranties.
 27
 28
                                               27
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 29 of 35 Page ID #:29



  1                             THIRD CLAIM FOR RELIEF
  2
                                 Breach of Express Warranty
  3
  4                       (Asserted on behalf of the Nationwide Class)

  5         94.    Plaintiffs repeat and incorporate the allegations set forth above as if
  6
      fully alleged herein.
  7
  8         95.    In the course of selling their Covered Vehicles, Defendant expressly
  9   warranted in its New Vehicle Limited Warranty that “Honda will repair or replace
 10
      any part that is defective in material or workmanship under normal use” and that
 11
 12   “All repairs/replacements made under this warranty are free of charge.”
 13         96.    Upon information and belief, Defendant’s standard warranty language
 14
      is identical for all Covered Vehicles sold nationwide.
 15
 16         97.    Defendant did not provide at the time of sale, and has not provided
 17   since then, vehicles conforming to the express warranties.
 18
            98.    Defendant breached and continues to breach express warranties
 19
 20   because the defective infotainment systems were present in the Covered Vehicles at
 21   the time of sale.
 22
            99.    Defendant breached and continues to breach express warranties
 23
 24   because Defendant did not (and does not) cover the full expenses associated with
 25
      repairing and/or replacing the defective infotainment systems in Plaintiffs’ and the
 26
      Class Members’ Covered Vehicles.
 27
 28
                                               28
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 30 of 35 Page ID #:30



  1         100. Defendant breached and continues to breach express warranties
  2
      because it merely replaces the defective components with additional defective
  3
  4   components and is unable to successfully repair the defects in Plaintiffs’ and the

  5   Class Members’ Covered Vehicles, despite having had reasonable opportunities to
  6
      do so. As such, the express warranties fail their essential purpose.
  7
  8         101. Despite the fact that the Vehicles’ infotainment systems continue to
  9   fail despite being “repaired,” Defendant continues to replace the defective parts
 10
      with identical or substantially similar defective parts. Thus, the defect is inherent
 11
 12   and permanent in nature.
 13         102. Defendant fraudulently concealed material information from Plaintiffs
 14
      and the Class regarding the existence and extent of the defects. Defendant also
 15
 16   fraudulently concealed the material fact that the replacement components were
 17   defective. Therefore, any limitations imposed by Defendant as to the scope of its
 18
      obligations under the express warranties to repair and adjust defective parts and/or
 19
 20   any disclaimers in the written warranties prepared by Defendant that purport to
 21   preclude recovery by Plaintiffs or the Class Members are unconscionable, both
 22
      substantively and procedurally, and are unenforceable as a matter of law.
 23
 24         103. Any such limitations or exclusions have been imposed unilaterally by
 25
      Defendant via adhesive, “take it or leave it” contracts with no ability by Plaintiffs or
 26
      the Class Members to negotiate the substance or coverage of the warranties, and
 27
 28   Plaintiffs and the Class Members did not have any meaningful choices of
                                                29
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 31 of 35 Page ID #:31



  1   reasonably available alternative sources of supply of suitable Vehicles free of the
  2
      above unconscionable conditions.
  3
  4         104. Furthermore, Defendant’s express warranty fails in its essential

  5   purpose because the contractual remedy is insufficient to make Plaintiffs and the
  6
      Class Members whole and because Defendant has failed and/or refused to
  7
  8   adequately provide the promised remedies within a reasonable time.
  9         105. Also, as alleged herein, at the time that Defendant warranted and sold
 10
      the Vehicles, it knew that the Vehicles were inherently defective, and Defendant
 11
 12   wrongfully and fraudulently misrepresented and/or concealed material facts
 13   regarding the Vehicles. Plaintiffs and the Class Members were therefore induced to
 14
      purchase the Vehicles under false and/or fraudulent pretenses.
 15
 16         106. Further, the enforcement under these circumstances of any limitations
 17   whatsoever on the recovery of incidental and/or consequential damages is barred
 18
      because any such limitations work to reallocate the risks between the parties in an
 19
 20   unconscionable and objectively unreasonable manner, and result in overly harsh or
 21   one-sided results that shock the conscience, especially in light of the fact that
 22
      Defendant simply placed defective components in the Vehicles when those
 23
 24   Vehicles are brought in for repairs.
 25
            107. Moreover, many of the damages flowing from the Vehicles cannot be
 26
      resolved by the limited remedies contained in the express warranty as those
 27
 28   incidental and consequential damages have already been suffered due to
                                              30
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 32 of 35 Page ID #:32



  1   Defendant’s fraudulent conduct as alleged herein and due to their failure to provide
  2
      such limited remedy within a reasonable time.          Therefore, any limitation on
  3
  4   Plaintiffs’ and the Class Members’ remedies would cause the available remedy to

  5   be insufficient to make them whole.
  6
            108. Defendant was previously provided notice of the defects in the
  7
  8   Vehicles    by   numerous     customer   complaints,   letters,   emails   and   other
  9   communications from Class Members and from dealers and other repair facilities.
 10
            109. Plaintiffs and the Class Members have suffered damages directly and
 11
 12   proximately caused by Defendant’s breach of the express warranty and are entitled
 13   to recover damages including, but not limited to, out of pocket expenses s and
 14
      diminution of value.
 15
 16                              FOURTH CLAIM FOR RELIEF
 17    Breach of Implied Warranty of Fitness for Ordinary Use and Merchantability
 18
                             (Asserted on behalf of Nationwide Class)
 19
 20         110. Plaintiffs repeat and incorporate the allegations set forth above, as if
 21   fully re-alleged herein.
 22
            111. At all relevant times, Defendant marketed, sold, and distributed the
 23
 24   Vehicles for use by Plaintiffs and Class Members and Defendant knew of the use
 25
      for which the Vehicles were intended, and impliedly warranted the Vehicles to be
 26
      for ordinary use.
 27
 28
                                               31
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 33 of 35 Page ID #:33



  1         112. The Vehicles, when sold, were defective, unmerchantable, and unfit
  2
      for ordinary use.
  3
  4         113. As described throughout the Complaint, the Vehicles contain defects

  5   which render them unsafe, inconvenient, and imperfect such that Plaintiffs and
  6
      Class Members would not have purchased the defective Vehicles had they known
  7
  8   of the defects.
  9         114. The damages at issue arose from the reasonably anticipated use of the
 10
      Vehicles.
 11
 12         115. Defendant breached the implied warranties of merchantability and
 13   fitness for ordinary use when the Vehicles were sold to Plaintiffs and Class
 14
      Members because the infotainment system repeatedly fails, rendering the vehicles
 15
 16   inoperable.
 17         116. As a direct and proximate result of Defendant’s breach of the implied
 18
      warranties of merchantability and fitness for ordinary use, Plaintiffs and Class
 19
 20   Members have suffered damage.
 21                                   PRAYER FOR RELIEF
 22
            WHEREFORE, Plaintiffs, on their own behalf and on behalf of the Class
 23
 24   Members, respectfully request judgment against Defendant as follows:
 25
                  (a) certifying the Nationwide Class;
 26
                  (b) appointing Plaintiffs and their counsel to represent the Class;
 27
 28
                                                  32
      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 34 of 35 Page ID #:34



  1            (c) ordering injunctive relief, restitution, disgorgement, and/or other
  2
                  appropriate relief;
  3
  4            (d) awarding compensatory, punitive, exemplary, and other recoverable

  5               damages;
  6
               (e) awarding reasonable attorney’s fees and expenses;
  7
  8            (f) awarding pre-judgment and post-judgment interest;
  9            (g) awarding such other and further relief as this Court may deem just and
 10
                  proper.
 11
 12                                     JURY DEMAND
 13         Plaintiffs demand a trial by jury of all issues so triable.
 14
 15   Dated: March 22, 2019             HAGENS BERMAN SOBOL SHAPIRO LLP

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      COMPLAINT
Case 2:19-cv-02160-CJC-GJS Document 1 Filed 03/22/19 Page 35 of 35 Page ID #:35



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      COMPLAINT
